 Case 5:21-cv-00664 Document 1-1 Filed 04/14/21 Page 1 of 8 Page ID #:11




EXHIBIT "1"
                                     Case 5:21-cv-00664
                                                SUMINS   Document 1-1 Filed 04/14/21 Page 2 of 8 Page
                                                      SUMWNS                                          BY FAX  ID #:12  SUM-100
                                                                                                                       SUM-wo             V
                                            (CITACION JUDICIAL)
                                                       JUDICIA L)                              FOR
                                                                                               ran COURT
                                                                                                   counr USE
                                                                                           (SOLO PARA USO
                                                                                                      USO OE
                                                                                                             om
                                                                                                         use ONLY
                                                                                                          DE IA
                                                                                                             LA CORTE)
                                                                                                                COR'IE)


NOTICE TO
       To DEFENDANT:
(A wso AL DEMANDADO):
(AVISO    DEMANDA DO):
                      CRmCAL, INC.,
    FEDEX CUSTOM CRITICAL,       1N0, an Ohio Corporation;
                                               Corporation; ANA                                                                                                   FILED
                                                                                                                                                                  FILED
                                                                                                                                                SUPERIOR COURT OF CALIFORNIA
                                                                                                                                                               g‘gwgﬁg“
    QuuADA,
    QUIJADA,  an individual;
                 individuan  A&K Cargo Trail
                                       Tran  LLC, a limited
                                                    timited liability
                                                            nabmty                                                                              Sg‘ﬂmgg‘gﬁ;
                                                                                                                                                 COUNTY OF SAN BERNARDINO
    company; and DOES 1-50, inclusive
    company;             1'50,                                                                                                                        BERNARmNO DISTRICT
                                                                                                                                                  SAN BERNARDINO


                                                                                                                                                          FEB 19
                                                                                                                                                          FEB 19 2021
                                                                                                                                                                 2021
    YOU ARE BEING       BV PLAINTIFF:
             BEiNG SUED BY PLAINTIFF:
    (LO
    (LO ESTA DEMANDANDO   EL DEMANDANTE):
                                                                                                                                          BY
                                                                                                                                          BY             4T                          et
         LORENZO CHRISTOPHER SERENO, an individual,
         ELEANOR HOPKINS,
                  HOPKlNS, an individual
                                         individuai.                                                                                                 ELISA A              7.rINPITTY          Pm
    NOTICE! You have been sued.     sued. The court           decide against
                                                 court may decide       against you
                                                                                  you without
                                                                                        without your     being heard
                                                                                                   your being   heard unless     you respond within
                                                                                                                        uniess you              within 30 days.
                                                                                                                                                            days. Read the the information
'


                                                                                                                                                                                information
    bNolTICE!
    below.
     e ow.
       You have 30 CALENDAR DAYS after                this summons and legal
                                                after this                     Iegak papers
                                                                                       papers are     served on you
                                                                                                 are served       you to
                                                                                                                       to file
                                                                                                                          ﬁle aa written
                                                                                                                                  written response at at this
                                                                                                                                                         this court
                                                                                                                                                               court and have a   a copy
                                                                                                                                                                                    copy
    served
    served on the    plaintiff. A letter
                 the plaintiff.           or phone call
                                   letter or         call will
                                                          will not
                                                                not protect
                                                                     protect you.           written response must be in
                                                                              you. Your written                             in proper
                                                                                                                               proper legal            you want
                                                                                                                                        legal form if you   wan! the
                                                                                                                                                             if    the court
                                                                                                                                                                        court to
                                                                                                                                                                               to hear
                                                                                                                                                                                  hear your
                                                                                                                                                                                        your
    case. There may be a court
    case.                       court form
                                       form that  you can use
                                             that you        use for
                                                                   for your  response. You can find
                                                                       your response.                   find these  court forms
                                                                                                             these court                       information at
                                                                                                                           forms and more information         at the
                                                                                                                                                                 the California
                                                                                                                                                                      California Courts
                                                                                                                                                                                  Courts
             Setf-Help Center
    Online Setf-Help
    Online                        (www.courtinfo.a.gov/se/lhelp). your
                         Center (www.courtinfo.ca.gov/selfhelp),           your county            library, or
                                                                                  county law library,      or the courthouse nearest
                                                                                                              the courthouse     nearest you.
                                                                                                                                           you. If you cannot
                                                                                                                                                 H you  cannot pay     the filing
                                                                                                                                                                  pay the   ﬁling fee,
                                                                                                                                                                                  fee. ask
                                                                                                                                                                                       ask
    the
    the court
        court clerk   for a
                cletk for a fee
                            fee waiver
                                 waiver form.      you do not
                                          tom. If you
                                                 If          not file  your response on time,
                                                                  file your                    time, you         lose the
                                                                                                      you may lose    the case by     default. and your
                                                                                                                                   by default,       your wages,     money, and
                                                                                                                                                          wages, money,        and property
                                                                                                                                                                                    property
              taken without
    may be taken     without further    warning from
                               iunher warning     from the
                                                        the court.
                                                              court.
       There
       Them are are other
                    other legal   requirements. You
                           legal requirements.      Y0u may want to    to call
                                                                          call an attorney      right away.
                                                                                    attorney right     away. If you
                                                                                                            lf           not know an attorney,
                                                                                                                you do not                          you may want
                                                                                                                                         attorney. you          want toto call
                                                                                                                                                                          can an
                                                                                                                                                                               an attorney
                                                                                                                                                                                  attorney
    referral service.
    referral              you cannot
              service. If you   cannot afford
                                If       afford an attorney,
                                                    attorney, youyou may be eligible
                                                                                 etigible for
                                                                                           for free   legal services
                                                                                                free legal  services from
                                                                                                                      from a a nonprofit
                                                                                                                                nonprofit legal  services program. You can locate
                                                                                                                                           legal services                           locate
    these nonprofit
    these  nonprofit groups
                       groups at    the California
                                 a1 the  Caiifomia Legal    Services Web site
                                                     Legal Services                   (www.Iawhelpoaliforniaorg). the
                                                                                site (www.lawhelpcalifornia.org),         the California   Caurts Online
                                                                                                                               California Courts             SeIf-Help Center
                                                                                                                                                    Online Self-Help      Center
    (www.counin/o.m.gov/selfhelp). or
    (www.courtinfo.ca.gov/selfhelp),         or by
                                                by contacting
                                                   contacting your      local court
                                                                  your local   court oror county
                                                                                          county bar     association. NOTE: The court
                                                                                                    bar association.                   court has a a statutory
                                                                                                                                                     statutory lien   for waived fees
                                                                                                                                                                 lien for          fees and
                                                                                                                                                                                         and
    costs on
    costs  on any   settlement or
               any settlement         arbitration award of
                                  or arbitration           of $10,000
                                                               $10.000 or or more in in a
                                                                                        a civil  case. The courts
                                                                                           civi! case.                lien must be
                                                                                                              court‘s lien             paid before
                                                                                                                                    be paid          the court
                                                                                                                                            before the   court will
                                                                                                                                                                 win dismiss
                                                                                                                                                                     dismiss thethe case.
                                                                                                                                                                                    case.
    jAVISOI
    [A                         Si no responde dentro
                    demandada Si
       VISO! Lo han demanded°.                            dfas, la
                                              dentm de 30 dfas,    corte puede decidir
                                                                Ia corte       decidir en su contra sin
                                                                                          su contra     escuchar su version.
                                                                                                    sin escuchar                  Ia informaciOn
                                                                                                                    versio’n. Lea la informacién a
                                                                                                                                                 a
    continuacion
    continuacién
     Tiene   30 DIAS DE CALENDARIO
      Tiene 30              CAL ENDARIO despues despue’s de que le  Ie entreguen
                                                                       entreguen esta       citacién y
                                                                                     esta citaciOn   y papeles    legales para presenter
                                                                                                        pape/as legates                            respuasta por escrito
                                                                                                                                  presenter una respuesta           escrito en esta
                                                                                                                                                                                  esta
                             entregue una copia       al demandante. Una
                                               copia al                    Una carte            llamada telefonica
                                                                                       o una Ilamada
                                                                                 carta a                  telefénica no to    protegen. Su respuesta
                                                                                                                           Io protegen.                   por escrito
                                                                                                                                              respuesta par            n‘ene que
                                                                                                                                                               escrito Ilene   qua estar
    carte
    corre yy hacer que se se entregue                                                                                                                                                eslar
        formato legal
    en formato    legal correct()
                        oorrecto sisi desea que procesen su     su caso en la  Ia carte.
                                                                                  cone. Es posible           haya un formulario
                                                                                              posible que haya                            usted puede
                                                                                                                       formulan'o que usted              usar para su respuesta.
                                                                                                                                                pueda usar               respuesta.
             encontrar estos
    Puede encontrar              formularios de
                         estos formularios     d9 la corte y
                                                  Ia carte           informacio’n en el
                                                             y mas informal&                Centre de Ayuda de las
                                                                                         e/ Centro                   Ias Cortes
                                                                                                                          Cortes ded9 California  (www.sucodecagov). en la
                                                                                                                                       California (www.sucorte.ca.gov),           la

    biblioteca      /eyes de su
    biblioreca de Ieyes            oondado o
                               su condado     o en la  carts que le
                                                    Ia carte        le quede masmés coma.
                                                                                      cerca. SiSi no puede pager
                                                                                                              pager laIa cuota
                                                                                                                         cuota ded9 presentaciOn,
                                                                                                                                    presentacién, pida     aI secnEotario
                                                                                                                                                     pida al  secretario de la Ia carte
                                                                                                                                                                                  aorta
         Ie de
    que le          formulario de
            dé un formulario         exencién de pago de
                                 d9 exenciOn               d9 cuotas.
                                                                cuotas. Si
                                                                         Si no presenta                         tiempo, puede perder
                                                                                                 respuesra a tiempo,
                                                                                 presents su respuesta                            perder elel caso por incumplimiento
                                                                                                                                                        incumplimienro y   y la  cone le
                                                                                                                                                                              Ia carte  le

            quitar su sueldo,
    podré guitar
    padre              sueldo, dinero
                                 dinero yy bienes
                                           bienes sin    més advertencia.
                                                    sin mas    adverrencia.
      Hay otros
           otros requisitos   legales. Es recomendable que Ilame
                  requisitos legates.                                                          inmediatamente. Si
                                                                     llame a un abogado inmediatamente.             Si no                  abogado, puede Hamar
                                                                                                                       no conoce a un abogado,                 llamar aa un   servicio do
                                                                                                                                                                          un servicio   de
    remisién a
    remision   a abogados. Si  Si no puede    pager a un abogado,
                                      puedalpagar            abogado, es     posible que cumpla con los
                                                                          es posible                            requisites pars
                                                                                                            los requisitos                   servicios legates
                                                                                                                                   oblener servicios
                                                                                                                             para obtener                        gratuitos de
                                                                                                                                                        Iegales gratuitos    de un
    programa de d6 servicios    Iegales sin
                    servicios legates    sin fines
                                              ines de   Iucro. Puede encontrar
                                                    da lucro.                         estos grupos
                                                                         encontrar estos      grupos sin   fines de lucro
                                                                                                       sin fines     lucro en elel sitio web de California
                                                                                                                                   sit/o web                  Legal Services,
                                                                                                                                                  California Legal   Services,
    (www.lawhelpcaliforniamg), en el
    (www.lawheipcalifornia.org),              Centre de Ayuda de las
                                           el Centro                        Cortes de California,
                                                                        las Cortes                                                   poniéndose en contact°
                                                                                                       (www.sucortecagov) o poniendose
                                                                                          California, (www.sucorte.ca.gov)                            contacto con la la carte
                                                                                                                                                                          corte o el
                                                                                                                                                                                   el
                              locales. AVISO: Por ley,
    colegio de abogados locales.
    colegio                                            ley, la
                                                             la carte         dereoho a reclamar
                                                                       tiene derecho
                                                                corte tiene                 reclamar las    cuolas y
                                                                                                       Ias cuotas   y los  costos exentos
                                                                                                                      Ios costos              por imponer un gravamen sabre
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    cualquier recuperaciOn
    cualquier                        $10,000 6 mas de valor
                recuperacién de $10,000                           recibida mediante un acuerrio
                                                            valor recibida                                       conceslén de arbitraje
                                                                                              acuerdo o una conceskin                                         derecho civil.
                                                                                                                                                   caso de derecho
                                                                                                                                  arbitraje en un caso                  civll. Tiene
                                                                                                                                                                               Tiene quo
                                                                                                                                                                                       que
    pager el
    pager   el gravamen de         carts antes
                               Ia carte
                           da la         antes de que la  Ia carte  pueda desechar el
                                                             corre puede                  el caso.
                                                                                             caso.
    I ee name and address of
                          of the court is:
                             the court Is:                                                                                       CASE NUMBER:
                                                                                                                                      NUMBER;
(El nombre y
(Elnombre    direccion de
           ydireccién     la carte
                       dela  corte es):                                                                                          (MimmeSB 2
    The Superior State of
        Superior State
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                           California, County
                        of California,        of San Bernardino
                                       County of     Bernardino
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    247 West Third
    247            Street, San Bernardino,
             Third Street,       Bernardino,  CA  92415
                                                  92415
        Bernardino District
    San Bernardino  District
           address, and telephone number of
The name, address,                            of plaintiff's anomey, or
                                                 plaintiff‘s attorney,    plaintiff without an attorney,
                                                                       or plaintiff            attorney, is:
                                                                                                         is:

            la direccion
               direccién y            da telefono
                              ndmero de             del abogado del demandante, o del demandante que no tiene
                                         teléfono del                                                        tiene abogado, es):
(El nombre, la
(El                      y el
                           e/ nilmero                                                                                       es):
Stephen K. McElroy, Esq. (SBN 129239)                129239)                                 (805)272-4001
                                                                                              (805)272—4001        (805)719-6858
                                                                                                                   (805)719—6858 Fax
    MCELROY PARRIS TRIAL LAWYERS
    907        Circle, Suite F
    407 Bryant Circle,
    Ojai, CA 93023                                                                                                                                                      "W
 821%Ei'
 DATE:                                                                   Clerk by
                                                                         Clerk, by                   r                                                                                    , Deputy
                                     FEB 19
                                                                                                        I                                                                                 '
                  z


(Pecha)
 {Fecha}            FEB 19 2021  2021                                     Secretario
                                                                         (Secretario)                                          d      '
                                                                                                                                                                                              (Adjunto)
                                                                                                                                                                                               Ad'unto
(For
(For proof of service of
     proof of            this summons, use Proof of
                      of this                                                 (form POS-010).)
                                                                of Summons (form
                                                     of Service of                   POS-0 10).)
(Para
(Para prueba de entrega de estaasta citation
                                    citatidn use el
                                                 e! formulario       of Service of
                                                    formulario Proof of          of Summons,
                                                                                    Summons. (S( OS-010)).
                                                                                                 03010)).
                                    NO'flCE TO THE PERSON SERVED: You are
                                    NOTICE                                         are served
    {SEAL}                                      1.
                                                1A         _§  as an individual
                                                                     individual defendant.

                                                2.
                                                2. !       ..1 as the person sued under  the fictitious
                                                                                   underthe  fictitious name of
                                                                                                             of (specify):
                                                                                                                (Specify):
                      /,g  k,
                                                            E




                      k$
                                                3.L J
                                                           -|




             é
                            .




                                                3.                 behan of
                                                                on behalf of (specify):
                                                                             (specify):
              5n»
                                                                           '




         ’
                                                      under:      I
                                                                  i_ j CCP 416.10 (corporation)
                                                                                      (corporation)                                                  j
                                                                                                                                                      I CCP 416.60
                                                                                                                                                            41 6.60 (minor)
                                                                                                                                                                    (minor)
             f,

                                                                    --, CCP 416.20    (defunct corporation)
                                                                              41 6.20 (defunct                                                        I CCP 416.70 (conservatee)
                                                                                                                                                     '




              //303                                                                             corporation)                                                        (conservatee)
                                                                      j CCP 416.40 (association or  or partnership)                                  j CCP 416.90 (authorized
                                                                                                                                                     j
                                                                                                                                                                    (authorized person)
                                                                                                                                                                                person)
                                                                        other (specify):
                                                                              (specify):
                                                                               J

                                                                                                                                                                                                      m
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                                                4- ~.,,,,• .E by
                                                4.     .   L}    personal delivery
                                                              by ﬁgr'éonal  delivery on (date):
                                                                                         (date):                                                                                               p”, , I
                                                                                                                                                                                               Page1of
    Form Adopted for
    Fonn Adopted  ior Mandatory
                       Mandatory Use
                                                                                        SUMMONS
                                                                                        SUMMO NS                                                                   Code of
                                                                                                                                                                        o: Civil
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      MW
      Judicial Council
     SUM-100
               Cami, of
     suu-too [Rev.
             mev. July
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                       o, California
                        1. 2009]
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                                                                                                                                                                           own Procedure
                                                                                                                                                                                 Procedure §§
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                                                                                                                                                                                              412.20. 46.5
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                                                                                                                                        i.e
                                                                                                                                      HR:
                                        Case 5:21-cv-00664 Document 1-1 Filed 04/14/21 Page 3 of 8 Page ID #:13
                                                                           \J                                              \y

                                1                         Stephen K.
                                                          Stephen  K. McElroy,
                                                                      M'cElroy, Esq.
                                                                                 Esq. (SBN 129239)
                                                                                            129239)
                                                          Josh M. Dowell,
                                                          Josh              Esq. (SBN 316836)
                                                                   Dowel}, Esq.         316836)
                                2                         MCELROY PARRIS TRIAL LAWYERS                                                     FILED
                                                                                                                                 SUPERIOR
                                                                                                                                 SUPERIORFCOIUIR'TEPALIFORW
                                                                                                                                          COURT OF CALIFORNIA
                                                          407
                                                          407 Bryant  Circle, Suite
                                                               B ant Circle,  Suite F                                             COUNTY OF  SAN BERNARDINO
                                                                                                                                          OFvSAN BER
                                                          Ojai, 8A 93023
                                                          ojai, CA
                                                                                                                                   SAN BERNARDINO  Dm?éNTO
                                                                                                                                       BERNARD'NO DISTRICT
                                3                                   93023
                                                          Tel:  (805) 272-4001
                                                          Tel: (805)  272-4001
                               4                          Fax:
                                                          Fax; (805)
                                                                (805) 719-6858                                                         FEB 19 2021
                                                                                                                                              2021
                                                          Email: service@mcelroyparris.com
                                                          Email:  service@mcclroyparris.com
                                 5(omﬂmm-th-A




                                                          Attorneys
                                                          Attorneys for  Plaintiffs, Lorenzo
                                                                     for Plaintiffs,         Christopher Sereno,
                                                                                     Lorenzo Christopher  Serene, an
                                                                                                                  an        BY
                                                                                                                            BY     TA,Aft
                                6                         individual;
                                                          individual; and  Eleanor Hopkins,
                                                                      and Eleanor    Hopkins, an
                                                                                              an individual
                                                                                                 individual
                                                                                                                                 EU        HH        r

                                                                                                                                                         PUTY
                                                                                                                                                         PUTY

                                 7

                                 8                                           SUPERIOR COURT OF THE STATE OF CLAIFORNIA

                                 9                                                 FOR THE COUNTY OF SAN BERNARDINO

                  10
                  11                                       LORENZO CHRISTOPHER SERENO, an  an             CASE NO;
                                                                                                               NO.:
                                                           individual, ELEANOR HOPKINS, an
                                                           individual,                  an
                  12                                       individual
                                                           individual
                                                                                                                       CIV
                                                                                                                       C'V SB 2
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                                                                                                                                       15 2
                                                                                                                                          2
                                                                                                          COMPLAINT FOR DAMAGES
                  13                                                             Plaintiffs,
                                                                                 Plaintiffs,


                  14                                              v.
                                                                  v.                                      (1)
                                                                                                          (1) NEGLIGENCE

                  15                                       FEDEX CUSTOM CRITICAL, INC.,     INC, an
                                                                                                  an
                                                                 Comoration; ANA QUIJADA, an
                                                           Ohio Corporation;                     an
                  16                                       individual;              Trail LLC, a
                                                           individual; A&K Cargo Trail         a
                                                           limited liability
                                                           limited liabiiity company; and DOES 1-50,
                                                                             company; and         1-50,
                  17
                                  Q&WNAOCOQVOU‘IAOOM—AO




                                                           inclusive,
                                                           inclusive,
                  NMNMNN—AJAAAAAAAA                                                                                    I




                  18                                                              Defendants.
                                                                                  Defendants.                                                   BY FAX

                  19
                  20                                                        Plaintiffs LORENZO CHRISTOPHER SERENO, an
                                                                 COMES NOW, Plaintiffs                             an individual,
                                                                                                                      individual, and


                  21                                      ELEANOR HOPKINS, an
                                                                           an individual,
                                                                              individual, allege
                                                                                          allege as
                                                                                                 as follows:
                                                                                                    follows:


                  22                                                                     PRELIMINARY STATEMENT
                  23                                             This
                                                                 This is
                                                                      is an action for
                                                                         an action for personal
                                                                                       personal injury against FedEx Custom Critical,
                                                                                                injury against              Critical, Inc., A&K Trucking
                                                                                                                                      Inc., A&.K Tmcking

                  24                                      and
                                                          and their driver, Ana Quijada
                                                              their driver,     Quijada for
                                                                                        for negligence. Plaintiff Lorenzo
                                                                                            negligence. Plaintiff Lorenzo Sereno,
                                                                                                                          Serene, was the driver of
                                                                                                                                      the driver of a
                                                                                                                                                    a vehicle
                                                                                                                                                      vehicle

                  25                                      on the
                                                             the Interstate
                                                                 Interstate 40
                                                                            40 Westbound in Needles, California,
                                                                                         in Needles, California, when the
                                                                                                                      the box truck
                                                                                                                              truck being
                                                                                                                                    being driven
                                                                                                                                          driven by
                                                                                                                                                 by Ana

                  26                                      Quijada left
                                                          Quijada left its
                                                                       its lane
                                                                           lane and collided with
                                                                                and collided with Mr.
                                                                                                  Mr. Sereno's vehicle, sending
                                                                                                      Sereno’s vehicle, sending it
                                                                                                                                it off
                                                                                                                                   off the
                                                                                                                                       the road.
                                                                                                                                           road. Lorenzo
                                                                                                                                                 Lorenzo
McElroy Parris
        Parris

Trial
Trial Lawyers,
      Law yers,   27                                      Sereno
                                                          Serene was severely
                                                                     severely injured
                                                                              injured in
                                                                                      in the
                                                                                         the collision.
                                                                                             collision. Plaintiff
                                                                                                        Plaintiff Eleanor
                                                                                                                  Eleanor Hopkins was a
                                                                                                                                      a passenger
                                                                                                                                        passenger in
                                                                                                                                                  in Mr.
                                                                                                                                                     Mr.
        APLC
                  28                                      Sereno's vehicle and was injured
                                                          Sereno’s vehicle         injured in
                                                                                           in the
                                                                                              the collision.
                                                                                                  collision.


                                                                                                        11
                                                                                               COMPLIANT FOR DAMAGES
                                       Case 5:21-cv-00664 Document 1-1 Filed 04/14/21 Page 4 of 8 Page ID #:14



                                1                                                                     PARTIES

                               2                                1.
                                                                1.      Plaintiff
                                                                        Plaintiff Lorenzo Christopher
                                                                                          Christopher Sereno
                                                                                                      Serene is
                                                                                                             is a
                                                                                                                a natural
                                                                                                                  natural person
                                                                                                                          person currently
                                                                                                                                 currently residing
                                                                                                                                           residing in
                                                                                                                                                    in the
                                                                                                                                                       the


                               3                         State
                                                         State of
                                                               of Pennsylvania.
                                                                  Pennsylvania.

                              4                                 2.      Plaintiff
                                                                        Plaintiff Eleanor
                                                                                  Eleanor Hopkins is
                                                                                                  is a
                                                                                                     a natural
                                                                                                       naturai person
                                                                                                               person currently
                                                                                                                      currently residing
                                                                                                                                residing in
                                                                                                                                         in the
                                                                                                                                            the State
                                                                                                                                                State of
                                                                                                                                                      of

                               5COGNGOTAOJN—k




                                                         Georgia.
                                                         Georgia.

                              6                                 3.
                                                                3.      Defendant FedEx Custom Critical,
                                                                        Defendant              Critical, Inc.
                                                                                                         Inc. (hereinafter
                                                                                                              (hereinafter "FedEx
                                                                                                                           “FedEx Custom Critical")
                                                                                                                                         Critical”) is
                                                                                                                                                    is


                              7                          and
                                                         and was a
                                                                 a corporation duly organized
                                                                   corporation duly organized and
                                                                                              and incorporated
                                                                                                  incorporated under
                                                                                                               under the laws of
                                                                                                                     the laws of the
                                                                                                                                 the State
                                                                                                                                     State of
                                                                                                                                           of Ohio.
                                                                                                                                              Ohio. FedEx

                               8                         Custom Critical has offices
                                                                Critical has ofﬁces in
                                                                                     in California
                                                                                        California and
                                                                                                   and does a substantial
                                                                                                       does a substantial amount of business in
                                                                                                                                 of business in the
                                                                                                                                                the State
                                                                                                                                                    State of
                                                                                                                                                          of

                               9                         California.
                                                         California.


                 10                                             4.
                                                                4.                          Trail, LLC (hereinafter
                                                                        Defendant A&K Cargo Trail,
                                                                        Defendant                                   “A&K Cargo")
                                                                                                       (hereinafter "A&K         is and
                                                                                                                         Cargo”) is and was,
                                                                                                                                        was, upon

                 11                                      information
                                                         information and belief, a
                                                                     and belief, a limited liability company incorporated
                                                                                   limited liability         incorporated under the laws
                                                                                                                          under the laws of
                                                                                                                                         of the
                                                                                                                                            the State
                                                                                                                                                State of
                                                                                                                                                      of

                 12                                      Texas
                                                         Texas and      a substantial
                                                                   does a
                                                               and does   substantial amount of business in
                                                                                             ofb'usiness in the State of
                                                                                                            the State of California..
                                                                                                                         Califdrnia..


                 13                                             5.
                                                                5.      Defendant Ana Quijada
                                                                        Defendant             (hereinafter "Quijada")
                                                                                      Quijada (hereinafter “Quijada”) is a natural
                                                                                                                      is a natural person last known to
                                                                                                                                   person last       to


                 14                                      reside
                                                         reside in the State
                                                                in the State of
                                                                             of Texas.
                                                                                Texas.

                 15                                             6.
                                                                6.          true names and/or
                                                                        The true              capacities, whether
                                                                                       and/or capacities, whether individual, corporate, associate
                                                                                                                  individual, corporate, associate or
                                                                                                                                                   or


                 16                                      otherwise of
                                                         otherwise of the                   through 50,
                                                                          defendants DOES 1 through
                                                                      the defendants
                                                                                              '1
                                                                                                    50, inclusive, and each
                                                                                                        inclusive, and each of
                                                                                                                            of them, are unknown to
                                                                                                                               them, are         t0 the
                                                                                                                                                    the


                 17             mbWN-AOCOWVODUI-hCDMAO
                                                         Plaintiffs
                                                         Plaintiffs who therefore
                                                                        therefore sue said defendants
                                                                                  sue said defendants by such fictitious
                                                                                                      by such            names. Plaintiffs
                                                                                                              ﬁctitious names.  Plaintiffs are
                                                                                                                                           are informed
                                                                                                                                               informed and
                                                                                                                                                        and
                 NNMMNNaaAAAAA—xAA




                 18                                      believe     thereon allege
                                                                 and thereon
                                                         believe and                that each
                                                                             allege that each of
                                                                                              of these
                                                                                                 these defendants ﬁctitiously named herein
                                                                                                       defendants fictitiously      herein as a Doe is
                                                                                                                                           as a     is



                 19                                      legally responsible,
                                                         legally responsible, negligent, or in
                                                                              negligent, or in some other actionable manner liable
                                                                                                    other actionable        liable for the events
                                                                                                                                   for the events and


                 20                                      happenings hereinafter
                                                         happenings hereinafter referred to, and
                                                                                referred to,     proximately and legally
                                                                                             and proximately     legally caused the injuries
                                                                                                                         caused the injuries to Plaintiffs as
                                                                                                                                             t0 Plaintiffs as


                 21                                      hereinafter
                                                         hereinaﬁer alleged.      precise identities
                                                                     alleged. The precise identities of
                                                                                                     of DOES 1 through
                                                                                                               through 50 are
                                                                                                                l             currently unknown to
                                                                                                                          are currently         to the
                                                                                                                                                   the


                 22                                      Plaintiffs, but Plaintiffs
                                                         Plaintiffs, but Plaintiffs will
                                                                                    wili seek
                                                                                         seek leave
                                                                                              leave of     court to
                                                                                                       the court
                                                                                                    of the       to amend this
                                                                                                                          this Complaint to insert
                                                                                                                               Complaint to insert the
                                                                                                                                                   the true
                                                                                                                                                       true


                 23                                      names and/or
                                                               and/or capacities
                                                                      capacities of
                                                                                 of such
                                                                                    such fictitiously-named defendants when the
                                                                                         ﬁctitiously-named defendants       the same has
                                                                                                                                     has been
                                                                                                                                         been

                 24                                      ascertained.
                                                         ascertained. In     place in
                                                                         any place
                                                                      In any       in this                 the term
                                                                                      this Complaint where the term "Defendant"
                                                                                                                    “Defendant” or
                                                                                                                                or "Defendants"
                                                                                                                                   “Defendants” is
                                                                                                                                                is used,
                                                                                                                                                   used,

                 25                                      itit shall
                                                              shall include
                                                                    include DOES lthrough
                                                                                 1through 50
                                                                                          50 as
                                                                                             as if
                                                                                                if so
                                                                                                   so stated.
                                                                                                      stated.


                 26                                              7.
                                                                 7.     Plaintiffs
                                                                        Plaintiffs are
                                                                                   are informed
                                                                                       informed and
                                                                                                and believe
                                                                                                    believe and
                                                                                                            and thereupon
                                                                                                                thereupon allege
                                                                                                                          allege that
                                                                                                                                 that at
                                                                                                                                      at all
                                                                                                                                         all times
                                                                                                                                             times herein
                                                                                                                                                   herein
McElroy Parris
        Farris

Trial Lawyers,
Trial Lawyers,   27                                      mentioned,
                                                         mentioned, each    the Defendants,
                                                                    each of the Defendants, including
                                                                                            including DOES 1 through
                                                                                                             through 50,
                                                                                                                l        inclusive, were
                                                                                                                     50, inclusive,      the agents
                                                                                                                                    were the agents and
         APLC
                 28                                      employees
                                                         employees and
                                                                   and in joint venture
                                                                       in joint venture with
                                                                                        with each
                                                                                             each other,
                                                                                                  other, or
                                                                                                         or working in
                                                                                                                    in concert
                                                                                                                       concert with
                                                                                                                               with each
                                                                                                                                    each other,
                                                                                                                                         other, and
                                                                                                                                                and each
                                                                                                                                                    each

                                                                                                            2
                                                                                              COMPLIANT FOR DAMAGES
                                        Case 5:21-cv-00664 Document 1-1 Filed 04/14/21 Page 5 of 8 Page ID #:15
                                                                             \y                                          \f

                              1                            Defendant
                                                           Defendant was acting
                                                                         acting within
                                                                                within the course and
                                                                                       the course and scope
                                                                                                      scope of
                                                                                                            of such
                                                                                                               such agency, employment, and
                                                                                                                    agency, employment, and or joint
                                                                                                                                            0r joint

                             2                             venture
                                                           venture or concened activity.
                                                                   or concerted                        whatever reference
                                                                                activity. Whenever and wherever reference is
                                                                                                                          is made in this Complaint
                                                                                                                                  in this Complaint to
                                                                                                                                                    to any
                                                                                                                                                       any

                             3                             act
                                                           act by a Defendant
                                                               by a Defendant and/or Defendants, such
                                                                              and/or Defendants, such allegations
                                                                                                      allegations and references shall
                                                                                                                  and references shall also be deemed to
                                                                                                                                       also be        to


                             4                             mean the
                                                                the acts and failures
                                                                    acts and failures to
                                                                                      to act
                                                                                         act of
                                                                                             of each
                                                                                                each Defendant acting individually,
                                                                                                     Defendant acting               jointly, and/or
                                                                                                                      individually, jointly, and/or severally.
                                                                                                                                                    severally.


                              5
                                ©mﬂ0§€ﬁ#wN—\




                                                                                            JURISDICTION     VEN E
                                                                                            J RISDI TION AND VENUE

                               6                                   8.
                                                                   8.     This Court has
                                                                          This Court     jurisdiction over
                                                                                     hasjurisdiction  over the cause of
                                                                                                           the cause of action
                                                                                                                        action asserted
                                                                                                                               asserted herein because it
                                                                                                                                        herein because it arises
                                                                                                                                                          arises


                                7                          out
                                                           out of negligent         by Defendants
                                                                            conduct by
                                                                  negligent conduct    Defendants in     Bernardino, California.
                                                                                                  in San Bernardino, California.      defendant has
                                                                                                                                 Each defendant has

                               8                           sufficient        contacts with
                                                           sufﬁcient minimum contacts with the
                                                                                           the State
                                                                                               State of California, or
                                                                                                     0f California,    otherwise intentionally
                                                                                                                    or otherwise               availed itself
                                                                                                                                 intentionally availed itself


                               9                           of
                                                           of the
                                                              the State
                                                                  State of California as
                                                                        of California as to
                                                                                         t0 render the exercise
                                                                                            render the exercise of jurisdiction over
                                                                                                                ofjurisdiction  over it
                                                                                                                                     it by
                                                                                                                                        by the State of
                                                                                                                                           the State of California
                                                                                                                                                        California


                 10                                        courts consistent with
                                                           courts consistent      traditional notions
                                                                             with traditional notions of
                                                                                                      0f fair play and substantial
                                                                                                         fair play                 justice.
                                                                                                                       substantial justice.


                 11                                                9.
                                                                   9.     Venue is
                                                                                is proper
                                                                                   proper in this Court
                                                                                          in this Court pursuant to California
                                                                                                        pursuant to California Code of Civil Procedure
                                                                                                                                    of Civil Procedure 395(a)
                                                                                                                                                       395(a)

                 12                                        because
                                                           because the       of injury
                                                                       place of
                                                                   the place    injury and loss
                                                                                           loss occurred
                                                                                                occurred in Needles, California.
                                                                                                         in Needles, California.


                 13                                                                           FACTUAL ALLEGATIONS

                 14                                                10.
                                                                   10.        incident giving
                                                                          The incident        rise to
                                                                                       giving rise    this litigation
                                                                                                   to this            occurred at
                                                                                                           litigation occurred at or near westbound
                                                                                                                                  or near westbound State Route
                                                                                                                                                    State Route


                 15                                        40 approximately
                                                           40               .6 miles
                                                              approximately .6 miles West of
                                                                                          of its intersection with
                                                                                             its intersection with JJ Street, located in
                                                                                                                      Street, located    Needles, California.
                                                                                                                                      in Needles, California.


                 16                                                11.
                                                                   l1.     State Route
                                                                           State       40, at
                                                                                 Route 40, at this location, was and is
                                                                                              this location,         is a divided roadway
                                                                                                                        a divided roadway with     trafﬁc lanes
                                                                                                                                          with two traffic lanes


                 17                                        in each direction
                                                           in each direction divided
                                                                             divided by          median. The roadway
                                                                                          center median.
                                                                                     by a center             roadway is
                                                                                                                     is flat,
                                                                                                                        ﬂat, and
                                                                                                                              and the
                                                                                                                                  the posted speed limit
                                                                                                                                      posted speed limit is
                                                                                                                                                         is

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                                UI#03M—AOCOmNO301hCOM—\O




                 18                                        seventy
                                                           seventy (70)
                                                                   (70) miles per hour.
                                                                        miles per           roadway and
                                                                                  hour. The roadway and shoulders are collectively
                                                                                                        shoulders are collectively referred
                                                                                                                                   referred to, at times,
                                                                                                                                            to, at times, as
                                                                                                                                                          as


                 19                                        the “Subject Area."
                                                           the "Subject Area.”

                 20                                                12.
                                                                   12.     On or about March 3,
                                                                              or about       3, 2019, Mr. Sereno
                                                                                                2019, Mr.            dn'ving a
                                                                                                          Serene was driving a Ford F-150 westbound
                                                                                                                               Ford F—ISO westbound on
                                                                                                                                                    0n

                 21                                                   Interstate 40
                                                           California interstate
                                                           California            40 in
                                                                                    in the
                                                                                       the number one
                                                                                                  one lane with Ms.
                                                                                                      lane with     Hopkins as
                                                                                                                Ms. Hopkins as his
                                                                                                                               his passenger.
                                                                                                                                   passenger. As they
                                                                                                                                                 they

                 22                                        approached
                                                           approached a
                                                                      a curve in the
                                                                        curve in the road,
                                                                                     road, the     truck driven
                                                                                           the box truck driven by
                                                                                                                by Quijada
                                                                                                                   Quijada left its position
                                                                                                                           left its position in the number two
                                                                                                                                             in the        two

                 23                                        lane and crossed
                                                           lane and crossed into the number one
                                                                            into the        one lane,
                                                                                                lane, striking
                                                                                                      striking the
                                                                                                               the Ford F—ISO and causing
                                                                                                                   Ford F-150     causing it
                                                                                                                                          it to lose control
                                                                                                                                             to lose control


                 24                                        and go over
                                                           and    over the guardrail and
                                                                       the guardrail and roll
                                                                                         roll over    the embankment.
                                                                                              over on the embankment.

                 25                                                13.
                                                                   13.     As aa result
                                                                                 result of Quijada’ss negligence
                                                                                        of Quijada'   negligence in operating her
                                                                                                                 in operating her vehicle,
                                                                                                                                  vehicle, Mr. Sereno and
                                                                                                                                           Mr. Sereno and Ms.

                 26                                                suffered substantial
                                                           Hopkins suffered substantial injuries.
                                                                                        injuries.
McElroy Parris
        Farris

Trial
Trial Lawyers,
      Lawyers,   27                                        ///
                                                           ///
        APLC
                 28                                        ///
                                                           / / /



                                                                                                              3
                                                                                                COMPLIANT FOR DAMAGES
                                      Case 5:21-cv-00664 Document 1-1 Filed 04/14/21 Page 6 of 8 Page ID #:16
                                                                       \r                                       \y

                            1                                                FIRST CAUSE OF ACTION NEGLIGENCE

                            2                                                   (By
                                                                                (By All Plaintiffs against
                                                                                    All Plaintiffs         A11 Defendants)
                                                                                                   against All Defendants)

                            3                                14.
                                                             l4.   Plaintiffs incorporate herein
                                                                   Plaintiffs incorporate herein by reference, as
                                                                                                 by reference, as though       set forth
                                                                                                                         fully set
                                                                                                                  though fully     forth at length, each
                                                                                                                                         at length, each

                            4                      and every allegation
                                                   and every                          contained in
                                                                            statement contained
                                                             allegation and statement              the foregoing
                                                                                                in the           paragraphs and
                                                                                                       foregoing paragraphs and of
                                                                                                                                of each
                                                                                                                                   each and every
                                                                                                                                            every

                             5 (omﬂmﬂ‘thOM—X
                                                   cause of action
                                                   cause    action of this Complaint.
                                                                   of this Complaint.

                              6                              15.
                                                             15.   At all times
                                                                   At all times mentioned herein, FedEx Custom Critical
                                                                                mentioned herein,              Critical and         through 10
                                                                                                                        and DOES 11 through 10 was


                              7                                          provided transportation
                                                             carrier who provided
                                                   aa common carrier                             services for
                                                                                  transportation services for goods
                                                                                                              goods needing
                                                                                                                    needing special care in
                                                                                                                            special care in all
                                                                                                                                            all 50
                                                                                                                                                50

                             8                     states.
                                                   States.


                              9                              16.
                                                             16.   At all
                                                                      all times mentioned herein,
                                                                          times mentioned             Quijada DOES 11
                                                                                          herein, Ana Quijada         through 20
                                                                                                                   11 through        a driver
                                                                                                                              20 was a dn'ver for
                                                                                                                                              for


                 10                                FedEx Custom Critical and was in
                                                                Critical and     in the            scope of
                                                                                        course and scope
                                                                                    the course              her employment at
                                                                                                         of her            at the
                                                                                                                              the time
                                                                                                                                  time of
                                                                                                                                       of the
                                                                                                                                          the


                 11                                collision.
                                                   collision.


                 12                                          17.
                                                             17.   Plaintiff is informed
                                                                   Plaintiff is informed and
                                                                                         and believes             alleges that
                                                                                                          therein alleges
                                                                                                      and therein
                                                                                             believes and                      at all
                                                                                                                          that at a1} times
                                                                                                                                      times mentioned
                                                                                                                                            mentioned

                 13                                herein, A&K Cargo
                                                   herein,           Trail and DOES 21
                                                               Cargo Trail          21 through 30 was contracted
                                                                                       through 30     contracted with       Critical Care
                                                                                                                 with FedEx Critical Care to
                                                                                                                                          to


                 14                                provide          services through
                                                           delivery services
                                                   provide delivery                  its owner and
                                                                             through its           driver, Ana Quijada.
                                                                                               and driver,     Quij ada.


                 15                                          18.
                                                             18.                         through 50
                                                                              and DOES 1 through
                                                                   Defendants and
                                                                   Defendants                  1    and each
                                                                                                 50 and each of
                                                                                                             of them,      the agents
                                                                                                                      were the
                                                                                                                them, were     agents and
                                                                                                                                      and

                 16                                employees of
                                                   employees of every       Defendant and
                                                                      other Defendant
                                                                every other               at all
                                                                                      and at all times        mentioned, were acting
                                                                                                       herein mentioned,
                                                                                                 times herein                        the course
                                                                                                                              acting the course and


                 17                                scope
                                                   scope of said employment.
                                                         of said employment.
                               thN—AOOmNan-wa—éc




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                 18                                          19.
                                                             l9.              and DOES 1 through
                                                                   Defendants and
                                                                   Defendants            through 50
                                                                                           l     50 and each of
                                                                                                    and each    them, owed a
                                                                                                             of them,      a duty to Plaintiffs
                                                                                                                             duty to Plaintiffs to
                                                                                                                                                to


                 19                                operate, own,
                                                   operate,      maintain, entrust,
                                                            own, maintain,          and/or drive
                                                                           entrust, and/or       a vehicle
                                                                                           drive a         in a
                                                                                                   vehicle in a reasonably safe manner.
                                                                                                                reasonably safe manner.

                 20                                          20.
                                                             20.              and DOES 1 through
                                                                   Defendants and
                                                                   Defendants                    50, and
                                                                                         through 50,
                                                                                           1                     them, breached
                                                                                                         each of them,
                                                                                                     and each                   their duties
                                                                                                                       breached their duties of care
                                                                                                                                             ofcare

                 21                                that were owed to
                                                   that were             Plaintiffs, as
                                                                     the Plaintiffs,
                                                                  to the             as set forth above,
                                                                                        set forth                causing injuries
                                                                                                         thereby causing
                                                                                                  above, thereby                  and damage to
                                                                                                                         injun‘es and        to the
                                                                                                                                                the


                 22                                Plaintiffs as
                                                   Plaintiffs as set forth herein.
                                                                 set forth herein.


                  23                                         21.
                                                             21.   As aa direct
                                                                         direct and           result of
                                                                                    proximate result
                                                                                and proximate           each Defendants'
                                                                                                     of each             breach of
                                                                                                             Defendants’ breach of their
                                                                                                                                   their respective
                                                                                                                                         respective


                   24                              duties of
                                                   duties          Plaintiffs have
                                                             care, Plaintiffs
                                                          of care,            have sustained general, special
                                                                                   sustained general, special and
                                                                                                              and property        in amounts
                                                                                                                  property damage in amounts to
                                                                                                                                             to be
                                                                                                                                                be

                   25                              determined at
                                                   determined at trial.
                                                                 trial.



                   26                                        22.
                                                             22.   Plaintiffs are informed
                                                                   Plainﬁffs are  informed and believe
                                                                                               believe and,       thereon, allege
                                                                                                            based thereon,
                                                                                                       and, based          allege that each Defendants'
                                                                                                                                  that each Defendants’
McElroy Parris
        Farris

Trial
Trial Lawyers,
      Lawyers,      27                             breach of
                                                   breach of their
                                                             their respective           care was a
                                                                              duties of care
                                                                   respective duties             a substantial
                                                                                                   substantial factor,
                                                                                                               factor, as
                                                                                                                       as set forth herein,
                                                                                                                          set forth         in causing
                                                                                                                                    herein, in causing the
                                                                                                                                                       the
        APLC
                    28                             Plaintiffs'
                                                   Plaintiffs’ harm.
                                                               harm.

                                                                                                      4
                                                                                        COMPLIANT FOR DAMAGES
                                      Case 5:21-cv-00664 Document 1-1 Filed 04/14/21 Page 7 of 8 Page ID #:17
                                                                         \y                                         \r

                             1                                23.
                                                              23.     As aa direct     proximate result
                                                                            direct and proximate result of
                                                                                                        of the aforesaid negligence
                                                                                                           the aforesaid                carelessness of
                                                                                                                         negligence and carelessness of the
                                                                                                                                                        the


                            2                         Defendants, and each
                                                      Defendants,     each of them, Plaintiffs
                                                                           of them,            sustained severe
                                                                                    Plaintiffs sustained severe and serious injuries.
                                                                                                                and serious           Said damages are
                                                                                                                            injuries. Said         are


                            3                         in a sum the
                                                      in a         exact amounts
                                                               the exact amounts of       are not
                                                                                 of which are     yet known to
                                                                                              not yet          Plaintiffs, but
                                                                                                            to Plaintiffs, but which
                                                                                                                               which amounts will
                                                                                                                                             will be
                                                                                                                                                  be

                             4                        proved
                                                      proved at
                                                             at the
                                                                the time of trial.
                                                                    time of tn‘al.

                                CO®NO303#OON—-k




                             5

                             6                                                               Christopher Serena
                                                                         Plaintiffs, Lorenzo Christopher
                                                              WHEREFORE: Plaintiffs,                                Eleanor Hopkins,
                                                                                                         Sereno and Eleanor          pray that
                                                                                                                            Hopkins, pray that


                              7                       they
                                                      they each
                                                           each be                 against Defendants
                                                                be awarded damages against Defendants as
                                                                                                      as follows:
                                                                                                         follows:


                              8                               1.
                                                              l.      Economic and non-economic damages,
                                                                                                damages, past     future, in
                                                                                                         past and future,    an amount which will
                                                                                                                          in an              will be


                               9                      proven at
                                                      proven at the time of
                                                                the time of trial;
                                                                            trial;



                 10                                           2.
                                                              2.      Prej udgment' interest,
                                                                      Prejudgment             according to
                                                                                    interest, according to proof;
                                                                                                           proof;


                 11                                           3.
                                                              3.               of reasonable
                                                                      An award of            costs in
                                                                                  reasonable costs    accordance with
                                                                                                   in accordance with the law and
                                                                                                                      the law and as the court
                                                                                                                                  as the court deems


                 12                                   appropriate;
                                                      appropriate; and


                 13                                           4.
                                                              4.      An award of any other
                                                                               of any       such relief
                                                                                      other such relief as
                                                                                                        as the court deems
                                                                                                           the court deems appropriate.
                                                                                                                           appropriate.


                 14

                 15                                          February 18,
                                                      DATED: February 18, 2021
                                                                          202]               CARPENTER, ZUCKERMAN & ROWLEY, LLP

                 16
                 17
                                                                                             By:
                 NNNNNN-AJAAAAA—xaa




                                                                                                     HEW
                                m‘hwmdommNmCﬂAWN—JO




                                                                                             By:               '




                 18                                                                                  STEP                LROY, ESQ.
                                                                                                                    McELROY,
                                                                                                                    .             ESQ.
                                                                                                     JOSH M. • WELL
                 19                                                                                  Attorneys for Plaintiffs,
                                                                                                     Attorneys for Plaintiffs,
                                                                                                                            Sereno, an
                                                                                                             Chn' stopher Sereno,
                                                                                                     Lorenzo Christopher
                                                                                                     Lorenzo                        an individual;
                                                                                                                                       individual; and
                 20                                                                                  Eleanor Hopkins,
                                                                                                     Eleanor Hopkins, anan individual
                                                                                                                           individual

                 21
                 22

                 23
                 24
                  25
                  26
McElroy Parris
        Farris

Trial
Trial Lawyers,
      Lawyers,    27
        APLC
        APLC
                  28
                                                                                                         5
                                                                                           COMPLIANT FOR DAMAGES
                                      Case 5:21-cv-00664 Document 1-1 Filed 04/14/21 Page 8 of 8 Page ID #:18
                                                                        *   4,400."                                      \y

                               1
                                                                                       DEMAND FOR JURY
                                                                                                  J RY TRIAL
                               2
                               3
                                                              Plaintiffs
                                                              Plaintiffs hereby
                                                                         hereby demand a jury trial
                                                                                       a jury trial on
                                                                                                    on all
                                                                                                       all causes
                                                                                                           causes of
                                                                                                                  of action.
                                                                                                                     action.

                               4
                               5                                                             CARPENTER, ZUCKERMAN & ROWLEY, LLP
                                                        DATED: February
                                                               February 18,
                                                                        18, 2021
                                 (DmﬂmtﬁhO-DMA




                                                                            2021
                               6
                                7
                               8                                                             By:
                                                                                             By:
                                                                                                     STEWLROY,
                                                                                                    STEP tam
                                                                                                    JOS.
                                                                                                    JOS.
                                                                                                             '
                                                                                                                     r LROY, ESQ.
                                                                                                                    ELL
                                                                                                                     '
                                                                                                                                 ESQ.
                                9                                                                                .



                                                                                                    Attorneys
                                                                                                    Attorneys for
                                                                                                              for Plaintiffs,
                                                                                                                  Plaintiffs,

                 10                                                                                 Lorenzo Christopher
                                                                                                    Lorenzo Chri stopher Sereno,
                                                                                                                           Serene, an
                                                                                                                                   an individual
                                                                                                                                      individual and
                                                                                                                                                 and
                                                                                                    Eleanor Hopkins, an
                                                                                                    Eleanor Hopkins,   an individual
                                                                                                                          individual
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McElroy Parris
        Parris

Trial
Trial Lawyers,
      Lawyers,   27
        APLC
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                                                                                           COMPLIANT FOR DAMAGES
